
958 N.E.2d 285 (2011)
354 Ill. Dec. 542
PEOPLE State of Illinois, respondent,
v.
Wayne JOHNSON, petitioner.
No. 111028.
Supreme Court of Illinois.
November 30, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in People v. Johnson, case No. 1-09-0606 (07/14/10). The Appellate Court is instructed to reconsider its decision in light of People v. Marshall, 242 Ill.2d 285, 351 Ill.Dec. 172, 950 N.E.2d 668 (2011), to determine whether a different result is warranted.
